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IN THE UNITED sTATES DISTRICT CoURT 04 ?/

 

FOR THE WESTERN DISTRICT OF TENNESSEFQ/[ " »' 475
EASTERN DIVISION ' .
DENNIS ANDERSON,
Plaintiff,
VS. No. 04-1120-T

JO ANNE B. BARNHART,
Commissioner of Social Security,

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Defendant.

 

ORDER AFFIRMING COMMISSIONER’S DECISION

 

Plaintiff, Dennis Anderson, filed this action to obtain judicial review of the Defendant
Commissioner’s final decision denying his applications for disability insurance benefits under
Title ll of the Social Security Act (the “Act”), 42 U.S.C. §§ 410 et seq., and for supplemental
security income (SSI) benefits under Title XVI of the Act, 42 U.S.C. § 1381 et seq. Plaintiff’s
applications were filed on November 9, 1999l and were denied both initially and upon
reconsideration by the Social Security Administration (SSA). Plaintiff requested a hearing before

an administrative law judge (ALJ) which was held on October 3, 2001. The ALJ' issued a

 

' Plaintiff first filed a claim alleging disability on August 4, 1994. (R.30) After denial initially and upon

reconsideration, he requested and was granted a hearing before an ALJ who denied plaintifi’s disability claim in a
decision issued on Junc 28, 1996. (R.BO). On September 25, 1999, the Appeals Council denied his request for
review, stating that the request was “untimely.” (R.30). Plaintiff` filed his current application for disability on
November 9, 1999 alleging disability since September 15, 1992. (R.560-63). In this current action, the ALJ found
no new and material evidence to warrant reopening the prior application, determining that the doctrine of res
judicata precluded a finding of disability through June 28, 1996. (R.3 I, 36). Since plaintiff’s insured status expired
on December 31, 1995, the ALJ determined that the relevant issue was whether plaintiff was entitled to Title XVI
benefits beginning November 9, 1999, the date he filed his new Tit|e XVl application (R.31-32).

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This document entered on the docket shee;;)in compliance
with Flule 58 and,\'or_?§ (a) FRCP on

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decision on January 25, 2002, determining that plaintiff was not disabled as defined by the Act
and Social Security Regulations. The Appeals Council denied plaintiffs request for review on
March 26, 2004. Thus, the ALJ’s decision became the final decision of the Commissioner of
Social Security. Plaintiff` then filed this action asking the court to reverse the ALJ’s decision on
the grounds that the decision is not supported by substantial evidence in the record and remand
the case for a new hearing or, in the altemative, award benefits to the plaintiff The
Commissioner contends that the decision is supported by substantial evidence F or the reasons
set forth below, the Commissioner’s decision is AFFIRMED.
Standard of Review

Judicial review in this court is limited to determining whether or not there is substantial

evidence in the record as a whole to support the Commissioner’s decision, and whether the

correct legal standards were applied §§ 42 U.S.C. § 405(g); Richardson v. Perales, 402 U.S.

 

389, 401 (1971); Her v. Comm’r of Soc. Sec., 203 F.3d 388, 389 (6th Cir. 1999); Walters v.

 

Comm’r of Soc. Sec., 127 F.3d 525, 528 (6th Cir. 1997); Drummond v. Comm’r of Soc. Sec.,
126 F.3d 837, 840 (6th Cir. 1997); Cutlip v. Sec’v ofHealth and Human Serv., 25 F.3d 284, 286
(6th Cir. 1994). Substantial evidence is evidence that a reasonable mind would accept as

adequate to support a conclusion Perales, 402 U.S. at 401; He_r, 203 F.3d at 389; Drummond,

 

126 F.3d at 840; Cutlip, 25 F.3d at 286. The reviewing court may not resolve conflicts in the

evidence nor decide questions of credibility Walters, 127 F.3d at 528 (quoting Garner v.

 

Heckler, 745 F.2d 383, 387 (6th Cir. 1984)); Cutlip, 25 F.3d at 286. In addition, if the decision is

supported by substantial evidence, it should not be reversed even if substantial evidence also

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supports the opposite conclusion Key v. Callahan, 109 F.3d 270, 273 (6th Cir. 1997); M
Qi@, 99 F.3d 780, 782 (6th Cir. 1996) (citing Mi_p, 25 F.3d at 286).
Background of the Case

Plaintiff is a fifty-year-old male with a sixth grade education who is working to obtain his
GED. (R.586). Plaintiff alleged that he was disabled since September 15, 1992 due to bilateral
elbow and knee pain; neck, back, right shoulder, and hand pain; vision problems; and depression.
(R.564).

Plaintiff’s past relevant work includes twenty years of experience in auto body work and
four years of experience as a part-time diver. (R.587). He claims he left auto body work because
of back pain and began working as a diver. (R.587). He quit diving in 1995 because he felt he
could not handle his weight in the water and was afraid he might drown. (R.587, 608-09).
Plaintiff has not worked since then. (R.587).

At the request of the SSA, Dr. Graf`ton H, Thurman conducted a consultative physical
examination of Plaintiff Anderson in December 1999, following his application for disability
(R.429, 431). Dr. Thurman reported no impairment-related physical limitations in a December 15
report (R.429). In a December 16 evaluation, Dr. Thurman documented plaintiffs peripheral
joint pain in his elbows and shoulder as well as complaints of back pain. (R.43 1-32).
Nevertheless, an MRl of plaintiffs back showed negative results and he reported that the
hydrocodone he takes helps the pain. (R.432). Dr. Thurman described plaintiff as well-
developed, well-nourished, having good mobility and an excellent gait, able to get on and off the
examination table and in an out of his chair without difficulty (R.433). He also found a full

range of motion in plaintiffs peripheral joints, full motor strength in plaintiffs arms and legs,

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and no evidence of defonnities, paraspinous muscle spasms, nerve root compression in plaintiffs
back, osteoperosis, or vertebral collapse. (R.433-34).

ln a letter dated November 8, 1999, Dr. William DeSouza, plaintiffs treating physician,
reported a compression fracture along plaintiffs Ll vertebra and noted a history of operations
performed on plaintiffs elbows and right shoulder. (R.422). Dr. DeSouza asserted that plaintiff
has stiffness in his knees and tendinitis in his left elbow, hands, and other joints. (R.422-23). He
peculiarly labeled plaintiff as “disabled” in his letter. (R.422). However, in a visit on June 29,
1999, Dr. DeSouza described plaintiff as being “[w]ell developed, well nourished and muscular”
and that plaintiff was under “no acute distress.” (R.424). In that same visit, plaintiff demonstrated
minimal impairment in both his straight leg raising and ventral flexion of his lumbar thoracic
spine despite his vertebra fracture. (R.424). Through March 29, 2000, the physical examinations
of plaintiff s back revealed no change in plaintiffs condition, yet plaintiff continued to complain
of lower back pain. (R.524-26). On March l, 2000, Dr. DeSouza noted that plaintiff had no gross
tenderness or deformities in his lower spine. (R.526). Plaintiff again complained of lower back
pain in August 2000 because he “overdid himself’ and the physical examination again showed
no change in plaintiffs back condition (R.527). On August 23, 2000, plaintiff expressed
increased pain in his left knee caused by “stepping wrong up a hill.” (R.527). Other than his
November 1999 letter, at no point did Dr. DeSouza ever place any limitations on plaintiffs
activities, but instead regularly prescribed medications for the pain. (R.42l-28, 517-29). Dr.
DeSouza withdrew his medical services after February 2001 because plaintiff complained of a

“lack of care” from him. (R.529).

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In September 2000, Dr. DeSouza referred plaintiff to Dr. Harold Antwine, an orthopedic
specialist, for consultation and evaluation (R.530). Dr. Antwine observed that plaintiff could
walk to the examination table without difficulty or assistance and found him capable of a full
range of motion in his hips, knees, and ankles. (R.530). ln a straight leg raise test and reverse
straight leg raise test, plaintiff showed no signs of pain in his back. (R.530). With the exception
of some pain observed in his left knee, the remainder of plaintiffs examination was deemed
unremarkable. (R.530).

After plaintiff discontinued Dr. DeSouza’s medical services, he was treated at the
McKenzie Medical Center in April 2001 for elbow, knee, and back pain. (R.545). An MRI was
performed on his back on May 25, 2001. (R.549). On May 31, 2001 , in a follow-up visit with Dr.
Brad Wrigbt, plaintiff was diagnosed With left-sided L4-L5 stenosis with degenerative disk
disease, based on the MRI. (R.550). Dr. Wright referred plaintiff to Dr. Michael Glover, a
neurosurgeon, for surgical consideration (R.SSO, 5 52).

Dr. Glover performed an evaluation of the plaintiff on July 5 , 2001. (R.553). He found
full range of motion in plaintiffs back. (R.553). In reviewing the MRI from May 2001, Dr.
Glover found only a mild Ll compression fracture and very mild L4-L5 disc dessication.
(R.553). He discredited Dr. Wright’s diagnosis, observing no significant stenosis, no clinically
significant deformities, and normal disc heights in plaintiffs MRI. (R.553-54). Dr. Glover
diagnosed plaintiff with chronic lumbar pain and meralgia parasthetica of his left hip, but noted
that plaintif “should be at activity as tolerated” and discovered nothing that would cause a severe
disability. (R.554). The May 2001 MRl ordered by Dr. Wright was also compared to an MRl

performed three years ago and was found to be “pretty much the same.” (R.554).

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Two physical residual functional capacity assessments were perforrned, one on December
21, 1999 by Dr. Lawrence Schull, the other on May 19, 2000 by Dr. Denise Bell. (R.43 9-46, 479-
86). Both assessments were nearly identical, finding plaintiff capable of lifting twenty-five
pounds frequently, fifty pounds occasionally, and capable of standing or sitting six out of eight
hours (R.440, 480). No other physical limitations were mentioned (R.440, 480).

Plaintiff also alleges that he has vision problems He underwent eye surgery, performed
by Dr. Gregory S. Carroll, on June 11, 2001 to have a cyst removed (R.536). As a result of the
surgery, Dr. Carroli reported that plaintiff has double vision and difficulty reading longer than
thirty minutes (R.23-24, 539).

Although plaintiff took antidepressants during the period of his treatment by Dr. Desouza
through at least the administrative hearing, plaintiffs mental problems were not first documented
until a psychological evaluation on December 12, 1999. (R.421-428, 517-29, 591; 435).
Perforrned by Dan Ernerson, a psychological examiner, and Dr. Robert llardi, a licensed clinical
psychologist, the evaluation reported that plaintiff gets angry frequently but has never undergone
psychiatric treatment (R.435). In fact, he believed that all his problems were merely physical in
nature. (R.436). Based on their observations Mr. Emerson and Dr. llardi concluded that plaintiff
had a personality disorder with passive-aggressive and paranoid features (R.43 7). However, they
stated that Plaintiff Anderson’s affect was “appropriate,” his range of affect was “adequate,”
behavioral observations showed ‘little” anxiety, and plaintiffs gross and fine psychomotor
functioning appeared “unremarkable.” (R.43 7). ln addition, Mr. Emerson and Dr. llardi placed no

limitations on plaintiffs activities for any mental impairments (R.435-38).

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On January 5, 2000, plaintiff underwent a mental residual functional capacity assessment
by a state agency contract examiner. (R.447). The examiner observed marked limitations in his
ability to understand and remember instructions carry out detailed instructions and interact with
the general public. (R.447-48). Moderate limitations were recorded for plaintiffs ability to
concentrate for extended periods, complete a work day or week without experiencing
psychological symptoms and perform consistently without unreasonable resting periods, and
respond to changes at work. (R.447-48). Nonetheless, plaintiff was not significantly limited in
fourteen out of twenty categories (R.447-48).

Another mental residual functional capacity assessment was conducted by a different state
agency contract examiner, Dr. Frank Edwards, on May 18, 2000. (R.460). The assessment
revealed no severe mental impairments for the plaintiff (R.460). Dr. Edwards noted that
plaintiffs primary complaints were physical and that he had received no mental treatment for any
disorders (R.461). Dr. Edwards further assessed that plaintiff had only slight limitations to his
daily activities and social functioning, was seldom deficient in his concentration, persistence,
and/or pace causing failure to complete tasks in a timely manner, and never had episodes of
deterioration in work settings causing plaintiff to withdraw from the situation. (R.467).
Otherwise, there was no evidence showing mental impairments (R.460-77).

The record shows that plaintiffs daily and weekly activities include cooking, washing
dishes, visiting friends and relatives caring for his personal needs without assistance, grocery
shopping, burning his garbage, chopping wood twice per week, working on his truck,

woodworking, and making a hammock and a birdhouse, among others (R.129-47, 166-69, 256,

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436). Plaintiff also reported that on one occasion, he injured his back while lifting a television
(R.557).

At the administrative hearing, plaintiff testified to having had surgery performed on his
right shoulder and elbows (R.588-89). He complained of pain in his elbows, fingers, back, and
knees (R.588-9l). l-Ie also testified to pain when he stands and walks. (R.593-94). Plaintiff
alleged vision problems that make it difficult for him to read without a magnifying glass. (R.596-
97). In addition to the plaintiff, a vocational expert, Lisa Courtney, testified at the hearing
(R.599). Ms. Courtney contended that, based on the physical residual functional capacity
assessment by Dr. Bell, plaintiff could continue performing skilled medium work,2 such as his
auto body work. (R.601-02). His visual impairments would have no real impact on his work.
(R.602). Moreover, Ms Courtney noted that even if plaintiff had mental impairments that
prevented him from performing auto body work,3 he would be able to perform thousands of other
jobs in the medium unskilled, light, or sedentary range. (R.603-04).

On January 25, 2002, after considering the entire record, ALJ John P. Garner determined
that Plaintiff Anderson was not disabled in accordance with 20 C.F.R. §§ 404.1520(e) and
416.920(e). More specifically, the ALJ found that: (1) no new and material evidence or other
good cause was shown to warrant reopening the ALJ’s decision issued on June 28, 1996, that the

evidence received for plaintiff s current application was insufficient basis to reach a conclusion

 

2 Medium work is defined as lifting no more than 50 pounds at a time with frequent lifting or can'ying of
objects weighing up to 25 pounds, standing or walking, off and on, for a total of approximately 6 hours in an 8-hour
workday, and sitting intermittently during the remaining time. Use of the arms and hands is necessary to grasp,
hold, and turn objects 20 C.F.R. § 404.1567(€), 416.967(0); Social Security Ruling 83-10.

3 Based on the residual functional capacity assessment performed on January 5, 2000 by the unnamed
state agency examiner.

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adverse from the ALJ’s final determination, and that the decision is thus binding through June
28, 1996 under the doctrine of res judicata; (2) plaintiff has not engaged in substantial gainful
activity since the date of his current application, November 9, 1999; (3) medical evidence
establishes that the plaintiff suffers from a severe combination of impairments including an old
compression fracture of the Ll vertebra, degenerative disc disease, elbow and shoulder pain and
operative procedures, but that no impairment or combination of impairments is listed or
medically equal to those in Appendix l, Subpart P, Regulations No. 4; (4) plaintiffs allegations
of limitations in functioning are not credible; (5) plaintiff has not experienced any pain or
combined symptoms of a disabling level of severity; (6) plaintiff has the residual functioning
capacity to perform Work-related activities except for work involving lifting more than fifty
pounds (20 C.F.R. §§ 404.1545 and 416.945); (7) performance of plaintiffs work-related
activities in his past relevant work as an auto mechanic would not be precluded by his residual
functional capacity (20 C.F.R. §§ 404.1565 and 416.965); (8) plaintiffs medically determinable
impairments do not prevent him from performing his past relevant work; (9) at any time through
the date of this decision, plaintiff has not had a “disability” as defined in 20 C.F.R. §§
404.1520(e) and 416.920(e). (R.36-37).

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The Social Security Act defines disability as the inability to engage in substantial gainful
activity. 42 U.S.C. §§ 423(d)(l), l382c(a)(3)(A). The initial burden of going forward is on the
claimant to show that he is disabled from engaging in his fenner employment; the burden then
shifts to the Commissioner to demonstrate the existence of available employment compatible

with the claimant’s disability and backgroundl 42 U.S.C. §§ 423, 1382c; Be_ Felisky v. Bowen,

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35 F.3d 1027, 1035 (6th Cir. 1994). The claimant bears the ultimate burden of establishing an

entitlement to benefits Cotton v. Sullivan, 2 F.3d 692, 695 (6th Cir. 1993).

ln determining disability, the Commissioner conducts a five-step sequential analysis, as

set forth in 20 C.F.R. § 404.1520 and § 416.920:

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2.

An individual who is engaging in substantial gainful activity will not be
found to be disabled regardless of medical findings

An individual who does not have a severe impairment will not be found to
be disabled.

A finding of disability will be made without consideration of vocational
factors if an individual is not working and is suffering from a severe
impairment which meets the duration requirement and which meets or
equals a listed impairment found in 20 C.F.R. Part 404, Subpart. P,
Appendix 1.

An individual who can perform work that he or she has done in the past
will not be found to be disabled

If an individual cannot perform his or her past relevant work, other factors
including age, education, past work experience, and residual filnctional
capacity will be considered to determine if other work can be performedl

Further analysis is unnecessary if it is determined that an individual is not disabled at any point in

this sequential evaluation process 20 C.F.R. §§ 404.1520(a), 416.920(a); l-logg v. Sullivan, 987

F.2d 328, 331 (6th Cir. 1989).

In this case, analysis proceeded to step four, where the ALJ found that plaintiff is not

disabled because he has the residual functional capacity to perform his past relevant work.

Plaintiff makes essentially two arguments in his appeal: first, substantial evidence does not

support the ALJ’s findings that plaintiffs mental impairments are non-severe and that he can

perform his past relevant work because the ALJ' improperly discredited certain pieces of medical

and testimonial evidence; second, the ALJ failed to use the correct legal standard in considering

whether or not plaintiffs prior application should be reopened. The court must determine if

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substantial evidence supports the ALJ’s findings and whether or not the ALJ applied the proper
legal standard in choosing not to reopen the prior claim.

l. Substantial Evidence Supports the ALJ’s Conclusions that Plaintiff s Mental impairments
Are Non-Severe and that He Can Perforrn His Past Relevant Work

Plaintiffs main argument is that the ALJ’s determination that plaintiffs mental
impairments are non-severe is not supported by substantial evidence. In coming to his
conclusion, the ALJ relied on the mental residual functional capacity assessment by Dr. Frank
Edwards, the fact that the evaluation by Mr. Emerson and Dr. llardi failed to demonstrate mental
impairments upon plaintiffs activities, and the fact that plaintiff has never sought mental health
treatment nor taken psychotropic medications for his personality disorder. (R.33, 35-36).

The assessment by Dr. Edwards reported no severe mental impairments and only slight
limitations in plaintiffs daily functions As already noted, plaintiffs primary complaints to Dr.
Edwards were physical, not mental. While diagnosing the plaintiff with a personality disorder,
the psychological evaluation by Mr. Emerson and Dr. llardi failed to show that his daily activities
were impaired by his disorder. Their report described plaintiffs affect as “appropriate,” his range
of affect as “adequate,” and plaintiffs psychomotor functioning as “unremarkable.” (R.437).
Again, plaintiff admitted to Mr. Emerson and Dr. llardi that his problems were merely physical.
Morever, the evaluation lacked restrictions on plaintiffs activities for his disorder. Such a lack of
physician-imposed restrictions is substantial evidence for a finding of no disability. w l_\lM

Bowen, 828 F.2d 1140, 1145 (6th Cir. 1987) (ruling that the ALJ was not erroneous in finding no

 

disability based on lack of physician-imposed restrictions).
The fact that plaintiff neither sought psychiatric treatment nor took psychotropic

medications for his personality disorder is further evidence of the ALJ’s finding of non-disability.

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Failure to seek treatment can be considered in determining non-disability unless the claimant is
unable to afford treatment and his or her condition is in fact disabling §e§ McKnight v. Sullivan,
927 F.2d 241, 242 (6th Cir. 1990); Hale v. Sec’v ofHealth and Human Serv.. 816 F.2d 1078,
1081-82 (6th Cir. 1987). Plaintiff has failed to establish that his mental condition is in fact
disabling or that he is unable to afford mental treatment Therefore, the plaintiffs failure to seek
treatment is a factor that can be considered in finding no disability. For the foregoing reasons the
court finds substantial evidence to support the ALJ’s determination that plaintiffs mental
impairments are non-severe

Plaintiff argues that the AL.l erroneously failed to articulate reasons for rejecting the
mental residual functional capacity assessment performed by a state agency examiner on January
5, 2000, the psychological evaluation performed by Dan Emerson and Dr. Robert Ilardi,
plaintiffs own testimony and history of taking psychotropic medication, and a statement made by
a SSA employee regarding plaintiffs behavior. Plaintiffs argument is without merit.

The ALJ implicitly rejected the January 2000 assessment by the unnamed state agency
examiner in favor of the assessment by Dr. Edwards in May 2000. ALJ Garner noted that Dr.
Edwards’ assessment was chosen over the January 2000 assessment because it was fully
supported by the objective evidence, implying that the January 2000 assessment was not. (R.35-
36). Thus, by articulating reasons for choosing Dr. Edwards’s report, the ALJ implied his reasons
for rejecting the state agency examiner’s assessment

Plaintiff errs in contending that the ALJ rejected Mr. Emerson’s and Dr. llardi’s findings
As mentioned previously, their evaluation shows no limitations to plaintiffs ability to perform

work-related functions nor imposes any restrictions on his daily activities The ALJ actually used

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their evaluation, along with other objective evidence, to support his final determination that
plaintiff has no severe mental impairments Therefore, the ALJ did not reject their findings as
plaintiff suggests..

As for plaintiffs testimony and history of taking psychotropic medications nothing
plaintiff said nor his taking medications demonstrates a severe mental impairment He admits he
has never received psychiatric treatment and does not want to receive such treatment In addition,
plaintiff recognized that his problems were physical and not mental in nature on at least two
occasions Plaintiff did take antidepressants while receiving treatment from Dr. DeSouza, but no
documentation gives an explanation or describes a mental impairment for which the medication
was prescribed Thus the ALJ was justified in ignoring this evidence without comment since it is
not evidence of a mental impairment

Plaintiff argues that a statement made by a SSA employee that plaintiff appeared very
depressed and angry should have been considered as a statement of a lay witness Plaintiff cites
Lashlev v. Sec’v of Health and Human Serv., 708 F.2d 1048 (6th Cir. 1983) to support his
argument However, the Sixth Circuit required the lay witness testimony to be fully supported by
the reports of treating physicians M, 708 F.2d at 1054. ln addition, the lay testimony
permitted in M§y was from the claimant’s wife-a witness who knew the claimant intimately
and could testify to his condition based on countless observations and close interaction ln the
present case, the SSA employee’s statement is not supported by the reports of plaintiffs treating
physicians and her statement was based on a single observation of a complete stranger.
Concurrently, she is not an acceptable medical source to give an opinion about plaintiffs mental

condition S_ee 20 C.F.R. § 416.913. Therefore, the ALJ correctly ignored her statement without

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comment since it was not proper evidence of a mental impairment For the reasons set forth
above, the court finds that the ALJ properly considered all of the evidence of plaintiffs alleged
mental impairments and articulated reasons for rejecting certain pieces of evidence when it was
appropriate to do so.

Plaintiffs ability to perform his past relevant work is supported by substantial evidence
The objective medical evidence showed that plaintiff would not be precluded from performing
work-related activities in the medium work range, including those activities plaintiff performed
in auto body work. In a residual functional capacity assessment, Dr. Denise Bell reported plaintiff
capable of lifting twenty-five pounds frequently, fifty pounds occasionally, and standing or
sitting six out of eight hours-all within the requirements of medium work. Other reports by
examining doctors found full range of motion in plaintiffs joints and back and no impairrnent-
related physical limitations were ever discovered Tests showed that plaintiff did have a mild
compression fracture of the Ll vertebra, but this condition was not debilitating and remained
unchanged throughout the period at issue Plaintiffs reported daily activities substantiate this
medical evidence: shopping for groceries working on his truck, making birdhouses and
hammocks cooking, chopping wood, caring for all his personal needs etc. Moreover, it appears
that at least some of plaintiffs pain resulted not from a disability but from situations when he
“overdid himself,” “stepp[ed] wrong up a hill,” or lifted a large object such as a television
(R.491, 5 57). The ALJ was warranted in considering these household and social activities in
determining plaintiffs disability status §§ Walters v. Comm’r of Soc. Sec., 127 F.3d 525, 532
(6th Cir. 1997). Finally, Ms. Courtney, a vocational expert, concluded that plaintiff could

perform his past relevant work in auto body work or, if he had severe mental impairments any

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other unskilled medium work. Therefore, the court finds that substantial evidence supports the
ALJ’s conclusion that the plaintiff is able to perform his past relevant work.

Plaintiff argues that the opinions of Dr. DeSouza and Dr. Blackburn (R.494-95), both
finding plaintiff capable of less than sedentary work, should be given great weight since they
were plaintiff s treating physicians However, Dr. Blackbum’s assessment was performed in July
1994, outside of the relevant time period ofNovember 9, 1999 through January 25, 2002.
(R.494). With respect to Dr. DeSouza, the ALJ discredited his opinion that plaintiff was totally
disabled because he did not relate his opinion to any specific findings since November 8, 1999
and because he is not a specialist in musculoskeletal disorders (R.33, 35). ln addition, Dr.
DeSouza’s opinion is inconsistent with the opinions of other doctors and plaintiffs reported
activities as discussed above Thus the ALJ properly discredited Dr. DeSouza’s and Dr.
Blackburn’s opinions
2. The ALJ’s Failure to Use the Correct Legal Standard ls Not Reversible Error

Plaintiff contends that ALJ Garner failed to use the correct legal standard in determining
whether good cause existed for reopening his prior disability claim. Normally, federal courts do
not have jurisdiction to review the ALJ’s decision not to reopen a prior application unless a
colorable constitutional claim is raised, such as when a claimant’s mental capacity may have
prevented him or her from pursuing administrative remedies § Wills v. Sec’v of Health and
Human Serv., 802 F.2d 870, 873 (6th Cir. 1986) (citing Califano v. Sanders, 430 U.S. 99, 107-08
(1977)). Plaintiff asserts that his mental capacity at the time prevented him from understanding
the review process A colorable mental incapacity claim is established only when both of the

following requirements are metz claimant’s mental incapacity prevented him or her from timely

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requesting review of an adverse decision and claimant had no legal representation S.S.R. 91-5p
(July l, 1991). The ALJ should have used this standard in considering whether or not to reopen
the prior claim. Nevertheless, plaintiff has failed to show that he had no one legally responsible
for prosecuting his claim at the time of the prior application and thus has failed to raise a
colorable constitutional claim. Since the plaintiff has not raised a colorable constitutional claim,
the fact that the ALJ failed to apply the correct legal standard is harmless error and the finding of
no good cause to reopen the prior disability application is upheld
Conclusion

For the foregoing reasons the decision of the Commissioner is AFFIRMED. The clerk is

directed to enter judgment accordingly

IT lS SO ORDERED.

   

A.M

JAM D. TODD
D STATES DISTRICT JUDGE

aff W';/ YM/

 

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This notice confirms a copy of the document docketed as number 23 in
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US DISTRICT COURT

